                                                  EXHIBIT A



                           IN THE UNITED STATES DISTRICT COURT
                           FOR THE MIDDLE DISTRICT OF FLORIDA
                                      TAMPA DIVISION


____________________________________
CINCLIPS, LLC,                          )
   a Georgia Limited Liability Company  )
                                        )
Plaintiff,                              )
                                        )               Civil Action No. 8:16-cv-01067-SDM0JSS
v.                                      )
                                        )
Z KEEPERS, LLC,                         )
   a Florida Limited Liability Company, )
                                        )
Defendant.                              )
____________________________________)

                                 PLAINTIFF’S TRIAL EXHIBIT LIST


        DATE               DATE
     IDENTIFIED          ADMITTED             WITNESS         DESCRIPTION          OBJECTIONS1
1                                                       ‘609 Patent
2                                                       ‘609 Patent File History
3                                                       ‘609 Patent Assignment
4                                                       ‘898 Patent                R, P, M, W
5                                                       ‘898 Patent File History
6                                                       ‘898 Patent Assignment     R, P, M, W
7                                                       Defendant’s U-Mount
                                                        Product
8                                                       Alpha Invoices –           R, F, W
                                                        CINCLIPS000189 – 243
9                                                       Amazon Printout –          F
                                                        CINCLIPS000314-323
10                                                      Sink Pictures –

1
  Abbreviations used in exhibit objections:
R – Irrelevant (FRE 401)
P – Prejudice (FRE 403)
F – Foundation /Authenticity (FRE 901)
H – Hearsay (FRE 802)
M – Misleading/Confusing (FRE 403)
I – Incomplete (FRE 106)
C – Cumulative (FRE 403)
W – Wastes Time (FRE 403)



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           CINCLIPS000328 – 329,
           331                        R, M, W
11         Cinclips Product           Not produced.
                                      Defendant
                                      reserves its
                                      objections
12         Braxton Bragg POs –        R, F, W
           CINCLIPS000332
13         Cinclips POs –             R, F, W
           CINCLIPS000345 – 457
14         Cinclips Invoices –        R, F, W
           CINCLIPS000458 – 583
15         Cinclips Marketing –       R, F, W, I
           CINCLIPS000584 – 605
16         PayPal Invoicing –         R, F, W, I
           CINCLIPS000606 – 675
17         Screenshot –
           CINCLIPS000692
18         GoClips LLC.PDF –          Not produced,
           document produced by       Defendant
           Braxton Bragg              preserves it
                                      objections
19         U Mount design documents
           – ZK000488-492
20         U Mount use documents –
           ZK000493-497
21         U Mounts sales sheet –     Subject to seal
           ZK000819-821
22         U Mounts sales sheet –     Subject to seal
           ZK000924-926
23         U Mounts photo –           Mislabeled.
           ZK000953                   Should be
                                      furring strip
24         U Mounts design document
           – ZK000935
25         Yuyao Lian Tong Plastic
           Mould Co., Ltd. Invoice
           #20160221 – ZK000936
26         Yuyao Lian Tong Plastic
           Mould Co., Ltd. Invoice
           #20140522 – ZK000937
27         U Mounts sales document  Subject to seal
           – ZK000954
28         Yuyao Lian Tong Plastic
           Mould Co., Ltd. Invoice
           #20140827 – ZK000964


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29         Yuyao Lian Tong Plastic
           Mould Co., Ltd. Invoice
           #20150730 – ZK000963
30         Yuyao Lian Tong Plastic
           Mould Co., Ltd. Invoice
           #20160221 – ZK000965
31         D. Smith Depo Exhibit 2    F, R, P, M, W
32         D. Smith Depo Exhibit 4    F, I
33         D. Smith Depo Exhibit 5
34         D. Smith Depo Exhibit 6
35         D. Smith Depo Exhibit 7
36         D. Smith Depo Exhibit 8
37         D. Smith Depo Exhibit 14   Subject to seal
38         D. Smith Depo Exhibit 15   F, R
39         D. Smith Depo Exhibit 16   C
40         D. Smith Depo Exhibit 17   As to inclusion
                                      of 759-62 in
                                      exhibit – M, C
41         D. Smith Depo Exhibit 18   Subject to seal
42         D. Smith Depo Exhibit 19   R, P, M, W
43         D. Smith Depo Exhibit 20   R, P, M, W




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